Case 3:22-cv-00294-HTW-LGI   Document 151-1   Filed 08/11/23    Page 1 of 19

                               EVELYN DUNN


          CONFIDENTIAL
            IN THE UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                     NORTHERN DIVISION

                                                               EXHIBIT 1
   ANGELA RUSSELL, AS ADMINISTRATRIX
   OF THE ESTATE OF JEREMY T. RUSSELL
   AND ON BEHALF OF THE WRONGFUL DEATH
   BENEFICIARIES OF JEREMY T. RUSSELL
             Plaintiffs,
   VERSUS                CASE NO. 3:22-CV-294-HTW-LGI
   MANAGEMENT & TRAINING CORPORATION;
   MICHAEL MCCLINTON; ASHLEY RAY;
   MARCUS ROBINSON; ROXIE WALLACE;
   JACOB VIGILANTE; JOHN AND JANE DOE
   CORRECTIONAL OFFICERS; VITALCORE
   HEALTH STRATEGIES, LLC; EVELYN DUNN;
   STACEY KITCHENS; WILLIAM BRAZIER; and
   JOHN AND JANE DOE MEDICAL PROVIDERS
             Defendants.



                 DEPOSITION OF EVELYN DUNN
          Taken at the East Mississippi
          Correctional Facility, located at
          10641 Highway 80 West, Meridian,
          Mississippi 39307, on Wednesday,
          February 8, 2023, beginning at
          9:51 a.m.




   REPORTED BY:
        Laura Cross, CCR #1691
        Court Reporter and Notary Public




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     Case 3:22-cv-00294-HTW-LGI   Document 151-1   Filed 08/11/23   Page 2 of 19

                                    EVELYN DUNN



 1
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22
23
24
25

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     Case 3:22-cv-00294-HTW-LGI   Document 151-1    Filed 08/11/23   Page 3 of 19

                                    EVELYN DUNN



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        issues on other units.           Having issues.
                                                                         Page 31
                                                                 They don't
 2      want to go back to that zone.               So we work with
 3      security to work out what's some recommendations
 4      for that client.
 5             Q.      So I'm hearing that camp support is
 6      really there if there are housing issues.
 7             A.      It can be.      That's one benefit.             It can
 8      be housing issues, one.
 9             Q.      Do you view camp support as a form of
10      mental health observation, as well?
11             A.      Let me define observation.              Now the
12      client won't -- is not on mental health suicide
13      watch or psychiatric observation.                The terminology
14      we -- the terminology we use would be a mental
15      health hold, something like a mental health hold
16      where we work with security.               We discuss this
17      person's having issues in population.                  When I say
18      "population," we're referring to the units.                     Unit
19      1 is a general population unit.               Unit 2, 3, 4,
20      those are general population units.                 So, for
21      example, if I had a client that had issues on
22      those units we communicate with security and say,
23      Look.     This person's having issues here.                  Let's
24      utilize camp support.          And we agree.          We don't
25      make the final decisions but they're going to work

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     Case 3:22-cv-00294-HTW-LGI   Document 151-1    Filed 08/11/23   Page 4 of 19

                                    EVELYN DUNN



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        BY MR. BRAGG:
                                                                         Page 34


 2             Q.      Is there -- okay.           So is it true that
 3      every security concern is not a mental health
 4      concern?
 5             A.      Define concern for me.            Because I'm a
 6      provider.      And when I speak -- when I hear concern
 7      -- so I may see concern a little different.                     So --
 8             Q.      Okay.
 9             A.      -- define concern for me.
10             Q.      Okay.
11             A.      Because my concern may be different
12      than someone else as a provider.                So define your
13      concern for me.
14             Q.      If a patient is presenting in a way
15      that indicates the need for mental health
16      treatment, okay, will they ever be sent to camp
17      support?
18             A.      Repeat that for me.
19             Q.      If a patient is presenting in a way
20      that indicates a need for mental health treatment
21      will that patient ever be housed in camp support?
22             A.      Yes, sir.
23             Q.      Okay.      And why is that?
24             A.      For example, if I have a patient that's
25      having mental health issues -- not suicidal -- not

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     Case 3:22-cv-00294-HTW-LGI   Document 151-1   Filed 08/11/23   Page 5 of 19

                                    EVELYN DUNN



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        suicidal -- we try to put them on a mental health
                                                                        Page 35


 2      unit.     We have mental health units.             But the
 3      person may be paranoid; doesn't want to be on that
 4      unit.     It is a concern and -- but he's not
 5      suicidal.      He's not -- won't take medications.
 6      He's not at a point that I can force you to take
 7      medication.       We can utilize camp support.              That
 8      gives limited housing, a limited number of other
 9      patients or inmates in that smaller population.
10      So we can utilize that for a mental health hold --
11             Q.      Okay.
12             A.      -- to give us time to decide on what's
13      best interest for that patient rather than say,
14      You have a housing issue.            You don't want to stay
15      on that unit.       That's not a concern.            No.    We know
16      he has some behavior issues, some conduct issues,
17      some mental health issues.            The person doesn't
18      want to be in population.            Then we know that
19      there's a reason why this may be going on --
20      THE WITNESS:
21                     -- let me know if I need to slow down
22      --
23             A.      -- with this patient.           Then we can
24      discuss that with security and recommend what's
25      appropriate for that.          And often we use camp

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     Case 3:22-cv-00294-HTW-LGI   Document 151-1   Filed 08/11/23   Page 6 of 19

                                    EVELYN DUNN



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        support for that.
                                                                        Page 36


 2             Q.      Okay.      Thank you.
 3             A.      Uh-huh (affirmative).
 4             Q.      That answers my question.
 5             A.      Because it gives us time to decide on
 6      what's best rather than make some quick decisions.
 7      What's in the best interest for the patient.
 8             Q.      Okay.      That answered my question.
 9             A.      So do we --
10             Q.      Okay.      You said mental health unit.
11      What unit is that?
12             A.      Unit 3 is what we consider -- when you
13      hear mental health unit that will be Unit 3.
14             Q.      Okay.      And that's general population?
15             A.      Yes, sir.
16             Q.      All right.      Are there -- is there
17      increased supervision at camp support?
18             A.      No, sir.
19             Q.      Okay.      Is it -- what --
20             A.      Define -- I'm sorry.          I do this every
21      day so I may ask you sometimes to define something
22      for me.     It's just to make sure we're clear.
23             Q.      That's fine.
24             A.      So let me know if I'm being a little
25      bit -- I may ask you to define something for me.

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     Case 3:22-cv-00294-HTW-LGI   Document 151-1   Filed 08/11/23   Page 7 of 19

                                    EVELYN DUNN



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        precaution that would mitigate the risk that
                                                                        Page 74


 2      someone would commit self-harm.
 3             A.      Yes, sir.
 4             Q.      Okay.      And what are those?
 5             A.      If I had a patient over there that's on
 6      mental health hold, if the person was engaging in
 7      behaviors that needed medications we can
 8      administer medications over there, as well.                    I
 9      could give someone medications over there because
10      they're on a mental health hold.               So we can give
11      medications on that unit.            That would be one...
12             Q.      Okay.
13             A.      We can treat, uh-huh (affirmative).
14             Q.      What about property -- orders about
15      property restriction?          Could there be -- could a
16      provider put an inmate on property restriction
17      while they're at camp support?
18             A.      If they're in camp support we could,
19      yes, sir.
20             Q.      Okay.      So you could basically issue an
21      order that says, This inmate at camp support can't
22      have access to a bed sheet?
23             A.      We couldn't give an order, we would
24      work with security more on the patients that -- we
25      could discuss that with security.

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     Case 3:22-cv-00294-HTW-LGI   Document 151-1   Filed 08/11/23    Page 8 of 19

                                    EVELYN DUNN



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               Q.      You would just communicate with
                                                                         Page 75


 2      security.
 3             A.      Uh-huh (affirmative).           We could discuss
 4      that with security.          Uh-huh (affirmative).
 5             Q.      I asked you about whether you had the
 6      electronic medical record available that was
 7      generated under Mississippi Department of
 8      Corrections when you're treating a patient.                     I
 9      asked you about that generally earlier.                     Do you
10      recall that?
11             A.      Yes, sir.
12             Q.      Okay.      In this case we're obviously
13      here to talk about Jeremy Russell.
14             A.      That's right.
15             Q.      And so is it also accurate to say that
16      you would have had Jeremy Russell's electronic
17      medical records that were generated in the context
18      of the MDOC facilities?
19             A.      Yes, sir.
20      MR. BRAGG:
21                     Do we want to take a short break?
22      MR. GARNER:
23                     I was just about to ask to.
24                         (A recess was taken.)
25      BY MR. BRAGG:

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     Case 3:22-cv-00294-HTW-LGI   Document 151-1   Filed 08/11/23    Page 9 of 19

                                    EVELYN DUNN



 1      shirt. CONFIDENTIAL                                              Page 84


 2             Q.      All right.
 3             A.      When we say ligature I think -- let me
 4      explain terminology.          Ligature can be anything
 5      that someone puts around -- it's a ligature.                      But
 6      it can be anything.
 7             Q.      Right.      And it listed it as being a
 8      shirt.
 9             A.      A shirt.
10             Q.      All right.      Tell me what you -- tell me
11      what you found during your visit with Jeremy
12      Russell on 9/28/21.
13      MR. CHASE:
14                     Object to form.
15      BY MR. BRAGG:
16             Q.      Okay.      How did the visit go?             What --
17      what happened during the visit?
18             A.      The visit is documented here.                 So what
19      parts?      Just tell me what parts you're referring
20      to.    Because everything -- my assessment's
21      documented in here --
22             Q.      Okay.
23             A.      -- according to visits.
24             Q.      So did you make the decision to admit
25      him to the -- to non-acute suicide observation?

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 Case 3:22-cv-00294-HTW-LGI   Document 151-1    Filed 08/11/23    Page 10 of 19

                                EVELYN DUNN



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            A.      Yes, sir.
                                                                       Page 85


 2          Q.      Okay.     Why did you make that decision?
 3          A.      The decision to admit him?
 4          Q.      Uh-huh (affirmative).
 5          A.      Several reasons.           He's a new intake to
 6   the facility.       Just transferred today.                 And based
 7   on the behaviors exhibited there was referred to
 8   me by mental health indicating he placed something
 9   around his neck.         Although he stated he did not --
10   he simply -- he showed me what he did indicating
11   that he did not try to hang himself, that he did
12   not tie it around his neck, that he laid it on top
13   of his shoulder is documented here in the records.
14   The reason I decided to admit him -- again, just
15   transferred from another facility.                Had been on
16   mental health watch previously at the previous
17   facility.      And based on his history of being on
18   suicide watch.       So a number of pos -- a number of
19   things led to my decision there as documented in
20   here in the record.
21          Q.      Okay.
22          A.      Uh-huh (affirmative).
23          Q.      So he showed you about the -- about how
24   he placed the T-shirt around him; is that correct?
25          A.      As I have it documented, he had the

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 Case 3:22-cv-00294-HTW-LGI   Document 151-1    Filed 08/11/23   Page 11 of 19

                                EVELYN DUNN



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     want to answer the question.
                                                                    Page 121


 2   MR. CHASE:
 3                  Yeah, take all the time you need to
 4   read it.
 5          A.      Okay.     Uh-huh (affirmative).              Do you
 6   want me to read it out to you?               Because I can tell
 7   you if this is why I discharged him here based on
 8   all this.
 9   BY MR. BRAGG:
10          Q.      I want to know every reason you made
11   that decision.
12          A.      Okay.
13          Q.      So if there's anything that's not in
14   the record, I want to hear that.
15          A.      Okay.
16          Q.      If there's anything that's not in the
17   record, I want to hear that.
18          A.      In my decision he denied suicidal
19   thoughts.      He asked to go to camp support.                 First
20   of all, he denied being suicidal.                He was calm,
21   pleasant, cooperative.          We had given him Haldol
22   the day before, Haldol Lac.               Symptoms were stable
23   today.      As I indicated, calm, pleasant, denied
24   suicidal thoughts.         And that was basis for
25   discontinuing suicide watch.

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 Case 3:22-cv-00294-HTW-LGI   Document 151-1   Filed 08/11/23   Page 12 of 19

                                EVELYN DUNN



 1         CONFIDENTIAL
     discharge a patient.
                                                                   Page 124


 2   BY MR. BRAGG:
 3          Q.      Okay.
 4          A.      Denied suicidal thoughts, behaviors,
 5   calm, pleasant, cooperative.
 6          Q.      Okay.     So he denied suicidal thoughts.
 7   He was cooperative.         You had given him Haldol the
 8   day before.      His symptoms were stable.
 9          A.      Uh-huh (affirmative).
10          Q.      Did anything else enter into your
11   decision at that point?
12          A.      Well, let me explain that a little
13   here.    He had used spice the day before.                 Spice,
14   drugs has a potential to alter your moods and
15   thoughts.      Give him Haldol, clinical evidence.                 We
16   give you medicines such as that.              It can stabilize
17   symptoms pretty quickly in a short time.
18          Q.      Okay.
19          A.      It's not uncommon to have someone
20   present to you with drug-induced -- and you give
21   them medications, Haldol.           And they stabilize
22   immediately and be discharged the next day.                    It's
23   not uncommon practice what we do.
24          Q.      Okay.     So let's talk about that.             So he
25   got spouse -- he got spice the previous day.

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 Case 3:22-cv-00294-HTW-LGI   Document 151-1    Filed 08/11/23   Page 13 of 19

                                EVELYN DUNN



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            A.      I'm sorry.      Yes.       Uh-huh (affirmative).
                                                                    Page 125


 2          Q.      Or I guess it was the day before he
 3   entered suicide watch.          Yeah.       Obviously he didn't
 4   get spice in suicide watch; correct?
 5   MR. CHASE:
 6                  Object to form.
 7   BY MR. BRAGG:
 8          Q.      I was just trying to get our dates
 9   right.      So he reported having spice on October 3,
10   2021?
11          A.      According to my notes on October the --
12   October the 4th.
13          Q.      Okay.     It was on the 4th.
14          A.      As I have it indicated in the third
15   paragraph of my assessment we discussed his use of
16   illicit drugs to include used spice today.                     So
17   that would have been on the 4th he used spice, the
18   third day of his admission.
19          Q.      And, for the record, you're going back
20   to --
21          A.      I'm sorry.
22          Q.      -- that was -- you were reading from
23   Exhibit 5 on that?
24          A.      No.
25          Q.      Oh, Exhibit 6.

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 Case 3:22-cv-00294-HTW-LGI   Document 151-1   Filed 08/11/23   Page 14 of 19

                                EVELYN DUNN



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     -- he informed me that he wanted to go to camp
                                                                   Page 130


 2   support.     That was one of his requests, that he
 3   did not want to go back into general population.
 4   He wanted to be in camp support.
 5          Q.      He had been there before.
 6          A.      Yes, been there before at the previous
 7   housing.     He was here before.          So I weighed that
 8   into my decision and recommended him to be there,
 9   as well.     We listen to patients.           We try to listen
10   to what their opinion is.           So he also stated he
11   wanted to be housed in camp support.                 He had been
12   there before so he was used to that environment.
13          Q.      And so you agreed with his request on
14   that?
15          A.      He had been there before.             He was used
16   to the environment.         He did not want to go back to
17   a larger unit.       Camp support's a small unit.
18          Q.      At that time did you consider whether
19   it may be a good idea to restrict his property as
20   he was going to camp support?
21          A.      At that time he denied suicidal
22   thoughts.      He did not exhibit any suicidal
23   behavior.      He was not engaging in any dangerous
24   behaviors or any risky behaviors.               So at that time
25   there was no indications to just restrict

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 Case 3:22-cv-00294-HTW-LGI   Document 151-1   Filed 08/11/23   Page 15 of 19

                                EVELYN DUNN



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     someone's property and just take their property
                                                                   Page 131


 2   for no reason, I should say.
 3          Q.      All right.
 4          A.      There was no indications at that moment
 5   that he needed to be on property restriction.
 6   Although he had a history of engaging in those
 7   behaviors, at that moment the goal was to give him
 8   the least restricted to give him opportunity if
 9   he's not exhibiting any behaviors.
10          Q.      Were you aware as you sat there in
11   October of 2021, that Jeremy had disclosed in his
12   electronic medical record a plan to kill himself
13   with a bed sheet?         Did you know that as he was
14   going into camp support on October 5, 2021?
15          A.      Which date are you referring to he
16   would have discussed that?
17          Q.      So on October -- and it wasn't recent.
18   It was back in 2019, I believe.              But were you
19   aware that he had made a disclosed plan to hang
20   himself with a bed sheet at some point in his
21   medical history?
22          A.      When you say "disclosed plan," he had
23   been on suicide watch quite frequently throughout
24   his stay.
25          Q.      Uh-huh (affirmative).

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 Case 3:22-cv-00294-HTW-LGI   Document 151-1    Filed 08/11/23   Page 16 of 19

                                EVELYN DUNN



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     correct?
                                                                    Page 133


 2          A.      No, sir.
 3          Q.      Did a physician or a psychologist
 4   participate in the decision in any way to
 5   discharge Jeremy from suicide watch on October 5,
 6   2021?
 7          A.      No, sir.     But can I explain that to
 8   make it clearer?         As a psychiatric nurse
 9   practitioner --
10          Q.      You can certainly explain your answer.
11   Can you answer my question before you explain?
12          A.      Yeah, I'm sorry.           Just like -- just
13   trying to make it easier for you.                So I just want
14   to clarify.      So a lot of my things may be
15   explained.      And just to make it clearer for you --
16          Q.      Uh-huh (affirmative).
17          A.      -- just to make it clear, you know --
18   just not make it difficult, just make it clear.
19   But as a psychiatric nurse practitioner we have to
20   -- can discharge or admit someone to suicide
21   watch.
22          Q.      You've got practice agreements with the
23   psychiatrist; correct?
24          A.      To discharge someone from suicide watch
25   you don't even have to collaborate with a

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 Case 3:22-cv-00294-HTW-LGI   Document 151-1   Filed 08/11/23   Page 17 of 19

                                EVELYN DUNN



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     psychiatrist.       We have the ability to discharge
                                                                   Page 134


 2   and admit someone on suicide watch without
 3   collaborating with someone.
 4          Q.      Okay.     Is that the policy of VitalCore?
 5          A.      I don't have that policy in front of
 6   me.    So we would have to look at that policy if we
 7   want to discuss that policy.              I don't have it in
 8   front of me, the policy.           But scope of practice is
 9   that we have the --
10          Q.      That's the way things are done at
11   VitalCore.      That's the way things are done here at
12   East Mississippi?         Is that fair to say?
13   MR. GARNER:
14                  Object to form.
15          A.      You mean discharging someone from
16   suicide watch?
17   BY MR. BRAGG:
18          Q.      Yeah, you can discharge someone from
19   suicide watch; is that correct?
20          A.      I'm referring to my scope of practice
21   as a psychiatric nurse practitioner.                 I have the
22   scope.      That's within my scope of practice.
23   Uh-huh (affirmative).
24          Q.      Okay.     I understand.
25          A.      Sorry.

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 Case 3:22-cv-00294-HTW-LGI   Document 151-1   Filed 08/11/23   Page 18 of 19

                                EVELYN DUNN



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     what would you do in that situation?                 Would you
                                                                   Page 136


 2   discharge someone from suicide watch?
 3   MR. GARNER:
 4                  Object to the form.         And I'll explain
 5   to you why.      Because MTC --
 6   MR. BRAGG:
 7                  You're speaking.
 8          A.      Yes.
 9   MR. GARNER:
10                  Huh?
11   MR. BRAGG:
12                  Your speaking objection.
13   MR. GARNER:
14                  Well, I mean --
15   MR. BRAGG:
16                  Let me -- I want to get her answer.
17   MR. GARNER:
18                  Object to the form.
19   THE WITNESS:
20                  And I'm going to explain that.               I'm
21   going to explain that MTC doesn't govern us health
22   care mental health providers.             They don't -- we
23   don't have a policy that we follow with MTC.                    MTC
24   does not guide in how we discharge, admit or treat
25   -- treat patients.

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 Case 3:22-cv-00294-HTW-LGI   Document 151-1   Filed 08/11/23   Page 19 of 19

                                EVELYN DUNN



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     BY MR. BRAGG:
                                                                   Page 138


 2          Q.      You were.
 3          A.      And that's what MTC -- and some people
 4   get a little confused and I just have to
 5   elaborate.      MTC's security side -- when we say
 6   "security," --
 7          Q.      Right.
 8          A.      -- they do more than security and
 9   classification but they do not govern the
10   decisions we make as far as our clinical care.
11          Q.      I understand.
12          A.      They do not govern that part of that.
13   Uh-huh (affirmative).
14          Q.      Okay.     But VitalCore does have input in
15   developing MTC's policies and protocols as it
16   relates to mental health care?
17          A.      I think it would be better to say that
18   we have communication as a organization in what
19   policies are in place and procedures --
20          Q.      Okay.
21          A.      -- to make sure that we are working
22   well together and making sure that no one is
23   overlapping the other.          I hope that's not
24   confusing for you.
25          Q.      No.   No, it's not.

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